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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                                                         Case No. 22-CR-27-TSC-RMM
        v.
                                                         Magistrate Judge Robin M.
 TYLER TEW,                                              Meriweather

        Defendant.

                JOINT SUBMISSION REGARDING SPEEDY TRIAL ACT

       The UNITED STATES OF AMERICA, by and through its attorney, the United States

Attorney for the District of Columbia, and the defendant, TYLER TEW, by and through his

attorney, William Shipley, hereby submit their Joint Submission Regarding Speedy Trial Act,

pursuant to Magistrate Judge Meriweather’s February 23, 2023 Minute Order. As set out below,

the parties agree to the below calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161

and that all time has been excluded in this case.

                           SPEEDY TRIAL ACT CALCULATION

               Dates                    Basis for Exclusion             Docket Entry
 2/2/2022 (Arraignment) to            18 U.S.C. § 3161(h)(7)    2/2/2022 Minute Entry by Judge
 4/29/2022 (Status Conference)        – “Interest of justice”   Chutkan
 4/29/2022 (Status Conference) to     18 U.S.C. § 3161(h)(7)    4/29/2022 Minute Entry by
 6/24/2022 (Status Conference)        – “Interest of justice”   Judge Chutkan
 6/24/2022 (Motion to Continue        18 U.S.C. § 3161(h)(7)    6/22/2022 Minute Order by
 Status Conference) to 7/8/2022       – “Interest of justice”   Judge Chutkan
 (Status Conference)
 7/8/2022 (Status Conference) to      18 U.S.C. § 3161(h)(7)    7/8/2022 Minute Entry by Judge
 8/8/2022 (Status Conference)         – “Interest of justice”   Chutkan
 8/8/2022 (Status Conference) to      18 U.S.C. § 3161(h)(7)    Transcript attached as Exhibit
 2/10/2023 (Pretrial Conference)      – “Interest of justice”   A, page 10, lns. 7-15.
 1/27/2023 (Status Conference) to     18 U.S.C. § 3161(h)(7)    1/27/2023 Minute Entry by
 6/26/2023 (Trial Date)               – “Interest of justice”   Magistrate Judge Meriweather
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                                    Respectfully submitted,

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